           Entered on Docket October 1, 2019

                                                                       Submitted But not Entered.
 1
                                                                       _____________________
 2                                                                     Christopher M. Alston
                                                                       U.S. Bankruptcy Judge
 3                                                                     (Dated as of Entered on Docket date above)

      ORDER NOT ENTERED: The order fails to include a preamble that states how the matter came before the
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      Court and the basis for granting the requested relief. Further, the Bankruptcy Code section upon which the
      motion is based does not provide that liens may be declared null and void. 11 U.S.C. sec. 522(f)(1).
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     _________________________________________________________________
                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 7
                           WESTERN DISTRICT COURT OF WASHINGTON
 8

 9   Re:
                                                              In Chapter 7 Proceeding
10                                                            No. 19-11173-CMA

11   Terri Hoefs                                              ORDER AVOIDING
                          Debtor(s)                           JUDGMENT LIEN(S)
12                                                            OF QUICK COLLECT, INC
13   ______________________________
14

15
        It is ORDERED that the judgment liens of the following creditors be and hereby declared
16
     null and void with respect to the property commonly known as 19476 SE 266th St., Covington,
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18
     WA 98042:

19           (A)     Quick Collect, Inc vs Terri Hoefs, King County District Court, State of Washington, Case

20                       No. 13320279, filed January 3, 2014, in the amount of approximately $258.00.
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22
                                                /// end of order ///
23
     Presented by:
24                                                   :
     /s/Ellen Ann Brown
25   ELLEN ANN BROWN WSB#27992
     Attorneys for Debtor(s)
